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                               JOIN US FOR THE 2024 PARADE + FESTIVAL DOWNTOWN HOUSTON



                                                           June 22nd Parade + Festival
                                                          Fish Plaza, Wortham Theater
                                                               Downtown, Houston




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https://newfacesofpride.org/2024-celebration                                                                                                     1/1
